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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 WARNER CHILCOTT CO., LLC, et al.,                        Civil Action No. 11-5989 (FSH)

                Plaintiffs,

        v.

 AMNEAL PHARMACEUTICALS, LLC, et
 al.,

                Defendants.

 WARNER CHILCOTT CO., LLC, et al.,                        Civil Action No. 11-6936 (FSH)

                Plaintiffs,

        v.

 TEVA PHARMACEUTICALS USA, INC.,

                Defendant.

 WARNER CHILCOTT CO., LLC, et al.,                        Civil Action No. 12-2474 (FSH)

                Plaintiffs,

        v.
                                                          ORDER ON DEFENDANTS’
 RANBAXY INC., et al.,                                      MOTION TO AMEND

                Defendants.


        THIS MATTER having come before the Court upon joint motions to amend

 Defendants’ Answers and Counterclaims, seeking leave to add a claim for inequitable conduct

 before the Patent and Trademark Office (“PTO”) relating to the applications of the patents-in-

 suit; and the motions having been made in three actions consolidated for pretrial purposes; and

 Defendants Amneal Pharmaceuticals, LLC and Amneal Pharmaceuticals of New York, LLC

 (hereinafter “Amneal”) in Civil Action No. 11-5989 having filed the motion at Docket Entry No.
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 131; 1 and Defendants Teva Pharmaceuticals USA, Inc., in Civil Action No. 11-6936 having filed

 the motion at Docket Entry No. 135; and Defendants Ranbaxy Inc., and Ranbaxy Laboratories

 Limited (hereinafter “Ranbaxy”), in Civil Action No. 12-2474, having filed the motion at Docket

 Entry No. 95; and Plaintiffs, Warner Chilcott Co., LLC, and Warner Chilcott (US), LLC,

 (“Plaintiffs”) having opposed the motion on the grounds of futility; and the Court having

 considered Defendants’ motions without oral argument pursuant to L.Civ.R. 78.1(b); and for the

 reasons set forth in the Court’s Memorandum Opinion accompanying this Order, and for good

 cause shown,


         IT IS on this 19th day of November, 2013,


         ORDERED that Defendants Amneal, Teva, and Ranbaxy’s motions for leave to amend

 are DENIED; and it is further


         ORDERED that the aforementioned Opinion shall be filed under temporarily seal. The

 parties are directed to review the Opinion and confer on a redacted version of the Opinion to be

 made public; and it is further


         ORDERED that the Clerk’s office shall terminate the motions at Docket Entry No. 131

 in Civil Action No. 11-5989; Docket Entry No. 135 in Civil Action No. 11-6936, and Docket

 Entry No. 95 in Civil Action No. 12-2474.



                                                                      s/ James B. Clark, III
                                                                     JAMES B. CLARK, III
                                                                     United States Magistrate Judge


 1
   This motion was originally brought by Watson Laboratories, Inc., - Florida. The underlying ANDA was
 transferred to Amneal. Amneal has been substituted as the real part in interest.
